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     SHAMSIDDIN ABDUR-RAHEEM
     787151C./789072
     New Jersey State Priion
     PO Box 861                         .
     Trenton, NJ 08625 ·

                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY
     SHAMSIDDIN ABDUR-RAHEEM,                                         CIVIL ACTION NOo:
                                                                      3:15-CV-01743-MAS-TJB
                              Plaintiff,
                                                                         NOTICE OF MOTION TO
                                                                       REOPEN THE .TIME TO FILE
     NEW JERSEY DEPARTMENT OF                                                   AN' APPEAL
     CORRECTIONS, et al.,
                                                             :   .




     TO: Office of the Attorney General·
        . Division of Law
          25 Market St.
          Trenton, NJ 08625 - via ECF
             PLEASE T~KE NOTLCE THAT the Plaintiff in the above-captioned

     mat r.: er    here h y - moves     p u rs u an t , to           Hu 1-e   4( a) ( 6) ,    Fed· o .R • App • P • ,

     before the United States District                       Co~rt,           District of New Jersey,
     for    an      order    granting. his         application to reopen the· time file.

     an appeal from           th~    District Court's order dismissing his                               ~ssault

     claims. with           prejudice       from    his   Complaint.               We   shall       rely      upon
     the Certification attache~ herewith.


                                                                      Respectfully           sub~itted,




                                                                                               Abdur-Raheem
     Date~        February 16, 2018
